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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF MISSISSIPPI


                                     CIVIL MINUTES


CASE NO. 4:16cv115                        PLACE HELD: Telephonic

SHWARTZ v. KHODR

DATE & TIME BEGUN/ENDED: 8/29/2016 @ 3:00 - 3:15 pm

                             TOTAL TIME: 15 Minutes

PRESENT:
              HONORABLE JANE M. VIRDEN, MAGISTRATE JUDGE

       Dean Dacus                                   Digital
       Deputy Clerk                                Court Reporter


       Attorneys for plaintiff(s):                 Attorneys for defendant(s):
       Stephen McDavid                             Josh Hill
       Merry Johnson - Paralegal                   Mark Dreher


PROCEEDINGS: Show Cause Hearing

Docket entry: Hearing held. Order to be entered.



                                                     DAVID CREWS, CLERK

                                                     By:    /s/ Dean Dacus
                                                            Courtroom Deputy
